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                            IN THE UNITED STATES DISTRICT COURT
                             DISTRICT OF UTAH, CENTRAL DIVISION


     UNITED STATES OF AMERICA,                         Case No. 2:16-cr-00631-DAK

             Plaintiff,                                UNITED STATES’ TRIAL BRIEF

             vs.
                                                       Judge Dale A. Kimball
     AARON MICHAEL SHAMO,

             Defendant.


           The United States of America, by and through its counsel, Michael Gadd, Special Assistant

United States Attorney, Kent Burggraaf, Special Assistant United States Attorney, and Vernon

Stejskal, Assistant United States Attorney, hereby files its Trial Brief.

                                                   I

                                   STATEMENT OF THE CASE

      A.       Indictment

           On October 18, 2018, a grand jury returned a second superseding indictment against Aaron

Michael Shamo (Defendant), charging him as follows:1




1
    See Doc. 136.

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       Count 1 alleges that beginning on a date unknown, but at least between July 8, 2015, and

November 22, 2016, in Utah and elsewhere, the Defendant, Aaron Shamo, engaged in a continuing

criminal enterprise (CCE) in violation of federal law.

       Specifically, Count 1 alleges that the Defendant, Aaron Shamo, acting in concert with at

least five other persons with respect to whom he occupied a position of organizer, supervisor, or

manager, committed a continuing series of violations of the Controlled Substances Act, including

the aiding, abetting, attempting, or conspiring to import, manufacture, distribute, and possess with

intent to distribute, fentanyl and alprazolam, using the U.S. Mail in furtherance of these offenses.

From such continuing series of violations, the Defendant obtained substantial income and

resources.

       Count 1 also alleges that the Defendant, Aaron Shamo, was a principal administrator,

organizer, supervisor, or leader of the criminal enterprise which involved the possession with intent

to distribute and the distribution of more than 12,000 grams (12 kilograms) of a mixture or

substance containing a detectable amount of Fentanyl.

       Count 2 alleges that on or about June 23, 2016, in Utah and elsewhere, the Defendant,

Aaron Shamo, imported 40 grams or more of a mixture or substance containing the controlled

substance Fentanyl into the United States from China.

       Count 3 alleges that on or about November 8, 2016, in Utah and elsewhere, the Defendant,

Aaron Shamo, imported the controlled substance Alprazolam into the United States from China.

       Count 4 alleges that on or about November 16, 2016, in Utah and elsewhere, the Defendant,

Aaron Shamo, imported 40 grams or more of a mixture or substance containing the controlled

substance fentanyl into the United States from China.




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       Count 5 alleges that on November 22, 2016, in Utah, the Defendant, Aaron Shamo,

possessed 400 grams or more of a mixture or substance containing the controlled substance

Fentanyl with the intent to distribute that substance to others.

       Count 6 alleges that between June 6 and June 13, 2016, in Utah and elsewhere, the

Defendant, Aaron Shamo, distributed or aided and abetted in the distribution of the controlled

substance Fentanyl, and that as a result a man with the initials R.K. died on June 13, 2016.

       Count 7 alleges that on November 22, 2016, in Utah, the Defendant, Aaron Shamo,

manufactured the controlled substance Alprazolam, by pressing it with other fillers into

consumable pills.

       Count 8 alleges that beginning on a date unknown, but at least between February 3 and

November 22, 2016, in Utah, the Defendant, Aaron Shamo, held adulterated drugs for sale in that

he manufactured pills to have the appearance of Oxycodone (bearing the markings “A 215”), but

which contained the controlled substance Fentanyl and not Oxycodone, and the adulteration had a

reasonable probability of causing serious adverse health consequences or death to humans.

       Count 9 alleges that beginning on a date unknown, but at least between June 18 and

November 22, 2016, in Utah, the Defendant, Aaron Shamo, held adulterated drugs for sale in that

he manufactured pills to have the appearance of Oxycodone (bearing the markings “M” and “30”),

but which contained the controlled substance Fentanyl and not Oxycodone, and the adulteration

had a reasonable probability of causing serious adverse health consequences or death to humans.

       Count 10 alleges that between September 12 and September 23, 2016, in Utah, the

Defendant, Aaron Shamo, used, or aided and abetted in the use of the United States Mail in

furtherance of a drug trafficking offense to facilitate the distribution of the controlled substance

Alprazolam.



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           Count 11 alleges that beginning on a date unknown, but at least between December 22,

2015 and November 22, 2016, in Utah and elsewhere, the Defendant, Aaron Shamo, conspired

with others to commit money laundering offenses.

           Count 12 alleges that on or about November 8, 2016, in Utah, the Defendant, Aaron Shamo,

engaged in money laundering by promotion and concealment by depositing $2,700.00 into a credit

union account which involved the known proceeds of the distribution of a controlled substance

with the intent to carry on that distribution activity or knowing the transaction was to conceal the

nature of the proceeds.

           Count 13 alleges that on or about May 5, 2016, in Utah, the Defendant, Aaron Shamo,

engaged or attempted to engage in a monetary transaction in criminally derived property of a value

greater than $10,000.00 by issuing a personal check from a Wells Fargo bank account to iDrive

Utah.

           Defendant was arraigned on the Second Superseding Indictment on October 30, 2018, and

entered not-guilty pleas.2

      B.        Trial Status

           A jury trial is scheduled to begin August 9, 2019, before the Honorable Dale A. Kimball,

United States District Court Judge.          The United States expects its case-in-chief to last

approximately twelve days.

      C.        Defense Counsel

           Greg Skordas, Daryl Sam, and Kaitlynn Beckett represent Defendant in this case.

      D.        Custody Status

           Defendant is in custody pending trial.



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    Doc. 142.

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      E.      Interpreter

           The United States does not require the assistance of an interpreter for its case in chief.

      F.      Jury Waiver

           Defendant has not filed a jury waiver.

      G.      Pretrial Motions

           The Court has ruled on the pre-trial motions made by both parties. The Court left open

the possibility of renewing objections by the United States to defense experts Kelly Shafto and

Eric Wheeler. The United States has received Ms. Shafto’s report and does not intend to renew

its objection so long as Ms. Shafto’s testimony concerns the opinions she gave in her report.

           The defense has recently indicated it will not call Eric Wheeler as a witness.

      H.      Stipulations not Contained on the Docket

           The parties have not reached any stipulations not covered on the docket, particularly the

minute entry entered on May 17, 2019.3

      I.      Discovery

           The United States has complied with its discovery obligations. To date, Defendant has not

provided reciprocal discovery.

                                                     II

                            SUMMARY OF ANTICIPATED EVIDENCE

           This case involves an international Drug Trafficking Organization (DTO), run by Aaron

Shamo, which manufactured controlled substances, namely fake oxycodone pills made with

Fentanyl and counterfeit Xanax tablets. The DTO distributed these controlled substances to other

individuals for purposes of further distribution throughout the United States and elsewhere using



3
    Doc. 219.
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their storefront, “Pharma-Master,” on the Dark Net4 marketplace AlphaBay and by using the

U.S. Mail.

Overview

       By way of an overview, the organization began with collaboration between Shamo and

Drew Crandall but quickly grew to include dozens of co-conspirators. Shamo and Crandall

purchased pill tableting machines, sometimes called pill presses, dies and punches to mark pills

so the markings would match those of legitimate pharmaceutical drugs, and inert pill ingredients,

such as binding agents and colors. Some items, such as the binding agents and colors were

purchased legally, and other inputs, such as Fentanyl and Alprazolam, were purchased and

imported into the United States illicitly. To avoid detection, Shamo and Crandall had many of

their inputs shipped to nominees or straw purchasers. Shamo and Crandall paid their nominees

and straw purchasers for their assistance.

       The inputs would then be pressed into pills that had the appearance of legitimate

pharmaceuticals. The fake oxycodone-type pills and the counterfeit Alprazolam tablets were sold

on the Dark Web at a significant profit. Once sold, Shamo and Crandall used co-conspirators to

package the pills and ship the pills to Pharma-Master’s customers. From June 2015 through

November 2016, Alexandrya Tonge and Katherine Bustin packaged pill orders, affixed shipping

labels and postage to their packages, and (as the operation grew) passed off the packages to a

runner—Sean Gygi—who would drop the packages off at post offices and blue boxes throughout




4
 Dark Net sites operate on the Dark Web, which cannot be accessed without special software,
and the Dark Net is a smaller part of the Deep Web. The Deep Web is an area of the internet not
accessible using typical search engines like Google and accounts for approximately 96% of the
internet. The Surface Web or Normal Web, on the other hand, accounts for just 4% of the
internet. The majority of internet users are only familiar with the existence of the Surface Web.

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the valley. Crandall trained Tonge and Bustin to use fictitious business names and addresses for

return addresses on the packages of pills they filled.

          Shamo also employed a co-conspirator, Mario Noble, to provide online customer support.

In addition to corresponding with customers online, Noble would, at times, assist Shamo by

building a daily order list that included customers’ shipping addresses and the type and quantity

of drugs purchased by each customer. Noble would send the daily order list to Tonge and Bustin

using a secure email service that encrypted the messages. Noble stepped away from his role

during September 2016, but returned shortly thereafter on a part-time basis.

          Crandall, who had been travelling abroad since November 2015 after telling co-

conspirators that Shamo was buying him out of their partnership, began again to actively work

with the DTO in June of 2016; Crandall, like Noble, provided online customer support and

processed orders.

          The organization used encrypted communication apps to communicate with each other

and relied on PGP encryption methods to communicate with customers. Members of the DTO

frequently communicated on the mobile application known as Telegram. On July 8, 2015,

Crandall created a dark web email account for Tonge and Bustin and then emailed instructions

regarding PGP encryption to Tonge and Bustin. Crandall instructed Tonge and Bustin to delete

the email, but a copy of the email was preserved and viewed by law enforcement.5

          When Crandall left the United States in November 2015, Luke Paz began pressing pills

with Shamo. Paz had previously served as a nominee/straw purchaser for the organization. Paz

and Shamo developed the recipe for the Fentanyl-laced fake oxycodone pills sold by Pharma-




5
    July 8, 2015, is the date by which the CCE crime alleged in Count 1 had begun.
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Master on Alphabay. Paz continued to press pills for the organization until Shamo’s arrest on

November 22, 2016.

       Sales on the Dark Web marketplace were conducted in Bitcoin, a decentralized virtual

currency. Shamo, Crandall, and Paz expended a fair amount of effort converting their Bitcoins

into fiat currency, which could be used to support their lifestyles and pay their co-conspirators,

among other things.




The PHARMA-MASTER DTO included approximately 14 additional
 Pharma-Master
     co-conspirators who held lesser roles in the organization




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Pharma-Master
   1. Totals
      While investigators have recovered forensic evidence that shows Shamo and Crandall

were selling drugs on Dark Net marketplaces prior to their sales on AlphaBay, the charges in the

Superseding Indictment largely use dates and amounts connected with Pharma-Master’s sales on

Alphabay.




       On November 11, 2015, Pharma-Master’s storefront was registered on AlphaBay.

Pharma-Master’s storefront on Alphabay allowed customers to post feedback online. The

feedback listed the price (in Bitcoin), type, quantity of pills purchased, as well as the date of the

purchase. Investigators were able to determine the total revenue and total sales from the sales for

which feedback was captured; the totals for the feedback-linked sales are as follows:




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*Fentanyl-laced Fake Oxycodone total is from M Box, Roxy, and Fentanyl combined into one
result. These three categories were the three ways in which Pharma-Master advertised Fentanyl-
laced pills for sale on Alphabay.

       The figures above were calculated from positive feedback posted between Dec 15, 2015,

and November 2016, when the storefront was shut down after Shamo’s arrest. The cash value of

the Bitcoin paid for the fake and counterfeit pills was determined based on the date of sale. The

Bitcoin-to-US Dollar exchange rate has fluctuated significantly since 2015-2016. These figures



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represent the United States’ best efforts to conservatively calculate total sales and revenue. For

example, they do not include any offline pill sales.

       The Pharma-Master DTO engaged in a practice of shipping more pills than a customer

ordered—as a way of engendering positive online customer feedback and to prevent customer

complaints, which were labor-intensive to resolve. The true number of pills shipped is likely

higher than these sales figures indicate.

       The data from the feedback showed that Pharma-Master on AlphaBay sold Alprazolam as

early as December 22, 2015, and Fentanyl-laced fake oxycodone as early as February 3, 2016.

   2. Customers

       Pharma-Master sold drugs to both addicts and redistributors. For redistributors who

bought large quantities, the price-per-pill would be lower than consumers who purchased one,

ten, or even one hundred pills at a time.

       One of Pharma-Master’s largest customers, who went by the online handle “Trustworthy

Money,” was charged in the District of Oregon. Here is a picture of Jared Gillespie, aka

“Trustworthy Money”:




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       Trustworthy Money encouraged other Dark Web customers to buy from Pharma-Master.

In one online feedback post, Trustworthy Money wrote, “basic economics will tell u to put all

your money back in to re-upping. don’t spend hella money[.] put all that shit back into pharmas

pills cuz these will make u a millionare under a year[,] guarantee[.]”

   3. Drug Quantities
         a. Fentanyl
      Some of the titles for Pharma-Master’s listings would alert potential buyers that the

oxycodone pills for sale contained Fentanyl. Some of the titles of items listed for sale purported

to be Oxycodone 30mg pills. None of the oxycodone-type pills seized during the investigation

contained oxycodone; they have all contained Fentanyl. Seized oxycodone-type pills containing

Fentanyl have born markings identical to genuine oxycodone pills, “A 215”, or “M” (with a box

surrounding the letter) and “30” on the reverse side. Here is a picture that shows the top stamp

for each of those two types of pills (Counts 8 and 9):




       The fake oxycodone pills containing Fentanyl seized in this investigation weigh about

what real 30mg Oxycodone pills weigh. The “Roxys”—those pills that were stamped A 215—

weigh over 100mg per pill. The “M boxes”—those pills that were stamped with an “M” with a

box around it on one side and a “30” on the other side—weigh slightly more than the Roxys.

For ease of math and to give the benefit of small variation in weight from pill to pill to the

defendant, each fake-oxycodone pill containing Fentanyl will be given a weight of 100mg for

purposes of aggregation calculations. From February 2016 to November 2016, the Pharma-


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Master DTO sold on AlphaBay 457,845 fake oxycodone pills containing Fentanyl. Those pills

equal 45.785kg of Fentanyl.6 During the search warrants on November 22, 2016, agents also

seized bulk Fentanyl in powder form and thousands of pills held in inventory.

             b. Alprazolam

         From December 2015 through November 2016, the Pharma-Master DTO sold 405,801

counterfeit Xanax tablets containing Alprazolam. During the search warrants on November 22,

2016, agents also seized bulk Alprazolam in powder form and thousands of pills held in

inventory.

Use of U.S. Mail

         The out-going pill packages seized in the investigation all indicated, through postage or

otherwise, that the DTO intended to send the packages through the U.S. Mail.

         In September 2016, Tina Young called USPS to report that she received a package that

was returned to her address but that she had not shipped. The package purported to be Jamaican

coffee beans (a false business name consistent with one used extensively by Tonge and Bustin in

connection with the shipment of controlled substances). Ms. Young did not drink coffee, so she

gave the package to a co-worker. The co-worker opened the package the following day to start

grinding the beans, but found counterfeit Xanax. Ms. Young requested a USPIS Inspector call

her right away at her work—although Ms. Young said she did not know how long she would be

at work because she feared someone would come to her residence looking for the drugs. (Count

10)

         For reference, here are pictures of two of the USPS packages containing Fentanyl pills

and Alprazolam pills seized during the investigation:



6
    Fentanyl is measured as a mixture or substance under USSG 2D1.1.
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       From customer addresses recovered during the investigation, agents determined that

Pharma-Master distributed drugs through the US Mail to every dot on this map:




       Each dot is a destination zip code for the packages Pharma-Master sent to customers.

With some frequency, a zip code had several packages sent it to from Pharma-Master.


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Search Warrants

       The active investigation of this case began when Customs and Border Patrol seized a

package of Fentanyl addressed to one of Shamo’s nominees, Ryan Jensen, in June of 2016

(Count 2). Agents later obtained a search warrant to search Jensen’s residence. Jensen agreed to

cooperate with the investigation. Jensen led agents to Sean Gygi.

       Postal Inspectors seized on November 8, 2016, an inbound packages of alprazolam

addressed to Sean Gygi (Count 3).

       On November 17, 2016, a search warrant was executed at Gygi’s residence; Gygi began

cooperating with investigators. Gygi explained that he was in possession of an unopened package

that belonged to the defendant. Gygi gave consent for the agents to seize the package, which

contained Fentanyl (Count 4). Gygi explained he worked for Shamo by picking up packages

from Shamo’s shipping team and dropping the outbound packages off at Postal Service drop

boxes throughout the valley.

       On November 18, 2016, and again on November 20, 2016, Gygi accepted packages from

Tonge and Bustin at the direction of the investigators. During those two days, the investigators

seized more than 120 packages containing pills pressed with Alprazolam or Fentanyl. Gygi also

recorded a conversation with Shamo at the agents’ direction. The investigators applied for search

warrants based upon probable cause that drugs and paraphernalia would be located in Shamo’s

residence and in Tonge and Bustin’s residence.

       On November 22, 2016, investigators executed the warrants at Shamo’s residence and at

Tonge and Bustin’s residence. In Shamo’s residence, investigators discovered a pill press

running in a basement room, pills containing Fentanyl (Count 5), tablets containing Alprazolam,

and three additional pill presses—one of which was still in a crate in the garage. The running pill



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press was producing counterfeit Xanax tablets (Count 7). Investigators also seized $1,227,773 in

US currency from the home. Shamo, who had his gloves and mask in his pocket, was arrested.

       Tonge and Bustin’s residence yielded additional Fentanyl-laced fake oxycodone pills

(also Count 5), counterfeit Xanax pills containing Alprazolam, packaging and shipping materials,

and additional currency.

Crandall Overseas

       According to some co-conspirators, Crandall and his then-girlfriend fled the country in

November 2015 because Crandall’s girlfriend was spooked by some aspect of the conspiracy.

From November 2015 until May 5, 2017, Crandall and his girlfriend lived abroad, touring

through Asia and staying for months in New Zealand and Australia. Crandall and his girlfriend

paid for their travel, at least in part, by using proceeds from the Pharma-Master DTO.

       The day after Shamo’s arrest, Crandall’s girlfriend reached out to Noble—a friend and

former co-worker—to enquire how he was doing. Noble did not respond. Crandall then took

steps to erase his social media presence. Crandall alerted Alphabay that Pharma-Master had been

compromised; the Pharma-Master storefront was shut down.

Death Resulting from Distribution

   1. Daly City (Count 6)

       R.K. and his roommate, G.L., ordered Roxycodone pills from Pharma-Master in April

2016, and again on June 6, 2016. The June 6th order was for ten pills that Pharma-Master

advertised as Roxy-Oxycodone. The June 6th order was processed and shipped out of Utah on

June 9th. It arrived at R.K. and G.L.’s residence on June 11th.

       On June 12, 2016, in the late evening, R.K. crushed and snorted two of the “Roxy” pills.

R.K. and G.L. thought the pills contained Fentanyl.



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       R.K. began feeling the effects almost immediately. R.K. asked G.L. and G.L.’s girlfriend

to check on him while R.K. laid down in bed. R.K. fell asleep shortly thereafter. G.L. rolled R.K.

into the recovery position in an effort to prevent R.K. from asphyxiating should R.K. vomit

during the night. G.L. went to sleep.

       The following morning, R.K. was found dead in his bedroom.

       The Coroner’s report indicated R.K. died from multiple drug intoxication. R.K. had

alcohol, cocaine metabolite, a cocaine cutting agent, and Fentanyl in his blood when he died.

       A Forensic Toxicology Expert, Dr. Stacey Hail, reviewed the case and determined that

R.K.’s but-for cause of death was the Fentanyl he ingested.

Cryptocurrency Seizures

       Agents have seized from various cryptocurrency wallets associated with the investigation

approximately 513.15 Bitcoin, along with cryptocurrency that was created based on forks within

the Bitcoin block chain including 512.93 Bitcoin Cash (BCH) and 513.15 Bitcoin Gold (BTG).

With the stipulation of the defendants, the seized Bitcoin was sold at auction by the USMS in

2018 for $5,357,950.38 in United States Currency.

Currency turned over by Paz

       During debriefs with agents in 2018, PAZ gave agents 30.811 in Bitcoin, $671,030 USD,

and $134,960 USD. The cash and Bitcoin were proceeds from drug distribution through Pharma-

Master.

Currency turned over by Shamo’s parents

    Shamo gave more than $429,000 USD to his family to hold on his behalf. Shamo’s parents

turned the cash over to investigators. Here is the cash seized from Shamo’s parents:




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Money Laundering Efforts

       As mentioned above, Crandall, Shamo, Paz and their associates spent a great deal of

effort turning their Bitcoin into fiat currency. During the execution of a search warrant on his

house on November 22, 2016, Shamo admitted to recently “unloading” Bitcoin. Agents seized

over $1.2 million in cash from Shamo’s house during the execution of the search warrant. Here is

a picture of the cash seized from Shamo’s residence:




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       Trial Exhibits 14.00, 14.02, 14.03, and 14.20, all show efforts Shamo undertook to

launder his drug proceeds from Bitcoin into dollars.

Shamo paid his co-conspirators in cash, gift cards, and Bitcoin for their work for Pharma-Master.

       The image below, dated November 8, 2016, shows Shamo making a $2,700 cash deposit

into Crandall’s bank account at an AFCU branch located in Cottonwood Heights, not far from

Shamo’s house. (Count 10) Shamo was depositing Crandall’s past-due wages.




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   In addition to the cash deposits into Crandall’s AFCU account, there were at least three wire

transfers from Bitstamp, a Bitcoin exchange company. The first wire transfer from Bitstamp into

Crandall’s AFCU bank account was in the amount of $3,013 on April 19, 2016. The second wire

transfer from Bitstamp into Crandall’s AFCU bank account was in the amount of $5,343 on

August 4, 2016. The third wire transfer from Bitstamp into Crandall’s AFCU bank account was

in the amount of $2,508 on September 22, 2016.




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       On another occasion, Shamo sent Sean Gygi $7,500 worth of his Bitcoin—the Bitcoin

was processed through a cryptocurrency exchange—and the funds from the conversion of

Bitcoin into dollars were deposited into Gygi’s bank account at USAA. Shamo then had Gygi

write a check to Shamo’s friend, M.P., who was an early investor in Shamo’s drug distribution

efforts. Gygi was paid a fee for his assistance.

       Alexandrya Tonge and Katherine Bustin both stated that they used Shamo and Crandall’s

Bitcoin—transferred to a Bitcoin wallet under Tonge and Bustin’s control—to pay for postage to

ship the drugs through the US Postal Service.

       Both Shamo and Crandall used their bank accounts to pay postage.

       Both Shamo and Crandall used their bank accounts to pay for various products purchased

from the Tablet Press Club in Canada that were used to manufacture pills.

       Shamo paid Sean Gygi $4,000 cash per month to pick up and mail the pills that were

ordered on Pharma-Master’s storefront.

       Shamo and Crandall paid Alexandrya Tonge and Katherine Bustin each $3,500 per

month to process and package the pill orders.

       Shamo paid Mario Noble $3,000 per month for doing customer service on the Pharma-

Master website, when he worked full time.

       Shamo paid for all materials needed for the production and distribution of the illegal

drugs which his organization was selling. The funds used to continue these activities were

acquired through the illegal sale and distribution of drugs.

       Shamo paid Paz a percentage of the proceeds for every pill sold.

Money Laundering Spending: 18 U.S.C. 1957(a)

       On or about May 5, 2016, Shamo wrote a check out of his Wells Fargo Bank account



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#4284 in the amount of $14,000 to iDrive Utah in partial payment for a truck. (Count 11) iDrive

Utah was part-owned by Shamo’s friend and early investor, M.P. Shamo purchased the truck

using drug proceeds.

                                                III

                                          WITNESSES

       The United States expects to call the following witnesses in its case-in-chief, but reserves

the right to call fewer or more witnesses, as necessary.

   1. Special Agent Ely Hebert, DEA
   2. Officer Jaime Pimentel, CBP
   3. Special Agent Christopher Amidan, DEA
   4. Ryan Jensen
   5. Jessica Gleave
   6. Sean Gygi
   7. Detective Josh Fife, WVC PD (formerly DEA TFO)
   8. TFO Mike Hamideh, DEA (ret.)
   9. SA Eric Breyer
   10. Sgt. Cameron Thor, Park City PD (formerly DEA TFO)
   11. TFO Jake Nattress, DEA
   12. Special Agent Guy Gino, HSI
   13. Katie Bustin
   14. Alexandrya Tonge
   15. Mario Noble
   16. Drew Crandall
   17. Jonathan Luke Paz
   18. Tina Young
   19. Special Agent Dave Slagle, HSI
   20. Special Agent Adam Koeneman, HSI
   21. Special Agent Dan Ashment, HSI
   22. Intelligence Analyst Robin Biundo, HSI
   23. Keith Chan, DEA Western Regional Laboratory
   24. Danielle Farrell, DEA Western Regional Laboratory
   25. Emily A. Oblath, DEA Western Regional Laboratory
   26. Son Hoang, DEA Western Regional Laboratory
   27. Frank Platek, FDA Forensic Chemistry Center
   28. Nico Ranieri, FDA Forensic Chemistry Center
   29. Adam Lanzarotta, Ph.D., FDA Forensic Chemistry Center
   30. Heather McCauley, FDA Forensic Chemistry Center
   31. Arthur F. Simone, M.D., Ph.D., FDA
   32. Special Agent Jeff Bryan, DEA (ret.)


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   33. Special Agent Jeff Fletcher, IRS CI
   34. Brennda Kurstin
   35. Inspector J. Agster, USPIS
   36. Inspector Andrea Brandon, USPIS
   37. Inspector Lance Howell, USPIS
   38. Special Agent Virginia Keys, FDA OCI
   39. Inspector Megan Moore, USPIS
   40. Tori Grace
   41. Officer Sandra Sabins, Daly City PD
   42. Thomas Wayne Rogers, M.D.
   43. B.L. Posey, Toxicologist
   44. Stacey L. Hail, MD, FACMT

                                                 IV

                                            EXHIBITS

       The United States has provided the defendant and the Court with a copy of its electronic

exhibits. The United States’ physical exhibits, including the drugs, will be available for inspection

by counsel for the defendant during the week of August 5, 2019.

                                                 V

        APPLICABLE LAW AND ELEMENTS OF THE OFFENSES CHARGED

       On July 31, 2019, the United States filed its proposed jury instructions which contained

the elements of each of the Counts facing the defendant. (Doc. 241)




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                                                 VI

                                         CONCLUSION

       Should further issues arise, the United States will alert the Court at its earliest convenience.

Dated: August 5, 2019.

                                                      Respectfully submitted,


                                                      JOHN W. HUBER
                                                      United States Attorney

                                                      /s/ Michael Gadd                    .
                                                      MICHAEL GADD
                                                      Special Assistant United States Attorney
                                                      KENT BURGGRAAF
                                                      Special Assistant United States Attorney
                                                      VERNON STEJSKAL
                                                      Assistant United States Attorney




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